            Case: 1:17-cv-03654 Document #: 14 Filed: 08/15/17 Page 1 of 1 PageID #:37
               U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                               ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good standing of this
Court’s general bar or be granted leave to appear pro hac vice as provided for by Local Rules 83.12 through
83.14.

In the Matter of                                                   Case Number:
Davis v. Ali, et al.                                                                  17 C 3654




AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
Defendants: Wesam Ali
NAME (Type or print)
Megan Honingford
SIGNATURE (Use electronic signature if the appearance form is filed electronically)
             s/ Megan Honingford
FIRM    Office of the Illinois Attorney General


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CITY/STATE/ZIP Chicago / Illinois / 60601


ID NUMBER          6317307                                         TELEPHONE NUMBER (312) 814- 2527



ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                   Y


ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE? N


ARE YOU A MEMBER OF THIS COURT’S TRIAL BAR? N


IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY? N


IF THIS IS A CRIMINAL CASE, USE AN “X” TO DESCRIBE YOUR STATUS IN THIS CASE.

RETAINED COUNSEL                                  APPOINTED COUNSEL
